UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF NEW YORK Cv 1 > = Q 1 4 1 —
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FRANCESCO PORTELOS,
Plaintiff, comptannAUSKOP F. J.

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CITY OF NEW YORK: NEW YORK CITY 4 }} |
DEPARTMENT OF EDUCATION: DENNIS ° iM MONS ISSUED... M J
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WALCOTT, CHANCELLOR OF NEW YORK

 

-against-

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CITY DEPARTMENT OF EDUCATION; LINDA .
HILL, PRINCIPAL OF LS. 49, IN HER OFFICIAL JURY TRIAL DEMANDED Ae
AND INDIVIDUAL CAPACITY, n= 8 Os \
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Defendants. ze = =r;
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Plaintiff FRANCESCO PORTELOS, by his attorneys, GLASS =a EELS
of
as and for his Complaint against Defendants, respectfully alleges as follows: “IZ XN

PRELIMINARY STATEMENT

1. Plaintiff brings this action seeking monetary and equitable relief based upon
Defendants’ violations of 42 U.S.C. Section 1983 and New York Civil Service Law Section
75-b (hereinafter “CLS § 75-b”) as a result of maltreatment and retaliatory actions taken
against him as a teacher employed by Defendants since reporting school administrators,
including his school principal Linda Hill, for various allegations of fraud and misconduct at
the school.

2, Plaintiff seeks economic and compensatory damages and punitive damages

to the extent allowable by law, and other appropriate legal and equitable relief pursuant to

federal, state, and city law. a
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SURISDICTION AND VENUE

3. This Court has subject matter jurisdiction over these claims pursuant to 28
U.S.C. § 1331 as this matter involves federal questions.

4, This action’s venue properly lies in the United States District Court for the
Eastern District of New York, pursuant to 28 U.S.C. § 1391, because the primary unlawful
discriminatory conduct occurred at a school within the County of Richmond in the State of
New York and Plaintiff is a resident of the County of Richmond.

5. This Court has the power to issue declaratory relief pursuant to 28 U.S.C. §§
2201 and 2202.

6. This Court has supplemental jurisdiction over Plaintiffs state and city law
claims under 28 U.S.C. § 1367(a).

7. Plaintiff previously served a Written Verified Notice of Claim on Defendants |
regarding his state and city law claims, which has not yet been adjusted to date.

PARTIES

8. Plaintiff is a resident of the State of New York, County of Richmond, City of
New York.

9, At all times relevant herein, Plaintiff was a “public employee” of Defendants
within the meaning of New York State Civil Service Law § 75-b(1)(b).

10. At all times relevant herein, Defendant New York City Department of
Education (“NYCDOE”) was a “public employer” within the meaning of New York State
Civil Service Law § 75-b(1)(a).

11. At all times relevant herein, Defendant. Dennis Walcott was the Chancellor |

of the New York City Department of Education.

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12. At all times relevant herein, Defendant Linda Hill was the principal of Berta
Dreyfus I.S. 49, a school within the New York City Department of Education.
13. All defendants routinely conduct business within the Eastern District of New
York.
STATEMENT OF FACTS
14. Up until the 2011-12 school year, Plaintiff had a documented stellar |
performance record since he commenced employment as a teacher with the NYCDOE in ©
September 2007.
15. After a successful career in Environmental engineering and inspection, —
Plaintiff began work as a Science Technology Engineering and Math (“STEM”) teacher for .
the NYCDOE at Berta A. Dreyfus I.S. 49, a middle school in Staten Island, NY, under the |

supervision of Principal Linda Hill. He received stellar performance reviews, and was

| praised by the principal and others for starting a school-based website for the school among

many other achievements.

16. Beginning in September 2011, Plaintiff began attending School Leadership
Team (“SLT”) meetings at the school.

17. | Onor about December 13, 2011, Plaintiff was taking minutes for the monthly —
SLT meeting. He inquired as to why the school’s Comprehensive Education Plan (“CEP”)
and budget had not been reviewed at all for the last four months. In response, Principal Hill
stated that she had already submitted these documents in December 2011.

18. After researching the Chancellor’s Regulations and New York State
Education Law, Plaintiff believed that there were violations regarding the adoption of the

CEP and budget at the school. Consequently, he notified SLT Chairperson Susanne

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Abramowitz and United Federation of Teachers (“UFT”) Chapter Leader Richard Candia of
these violations. Yet, no steps were ever taken to rectify or address these violations.

19. In January 2012, shortly after raising questions about these fraudulent
activities at the school, Plaintiff suddenly began facing a hostile work environment at the
school from school administration. For example, he began having his class lessons —
questioned and criticized by administration for the first time, after years of positive praise,
as well as experiencing repeated verbal abuse from the administration.

20. Also in January 2012, Plaintiff began observing incidents of double dipping
by the school administration. Specifically, Plaintiff raised concerns about budget
allocations, the Principal’s after school per session activities, and the Assistant Principal’s .
practice of having her timecard locked up in a drawer.

21. Plaintiff reported these activities to the Office of the Special Commissioner .
of Investigation (“SCI”) on January 26, 2012, via an anonymous email. He also provided
SCI with three years worth of school activities to cross-reference with time sheets to
document the fraudulent activities by school administration.

22. Despite Plaintiffs letter to SCI being reported by him as anonymous, the
retaliatory actions towards Plaintiff suddenly and dramatically intensified after this email.
His personal email and website, which he had developed specifically for the school, were
suspended, and he received three unwarranted disciplinary letters within 10 days in February
2012. Further, Principal Hill specifically told Plaintiff that she knew he had been inquiring ©

about her per session activities to Superintendent Erminia Claudio.
 

 

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23. Onor about February 28, 2012, SCI investigators came to Plaintiff's sckool |

and seized a computer from his classroom. They also came to his home to seize sck.ool

equipment that he had been authorized by the school to take home for lessons and research.

24. This pattern of harassment continued in March 2012. On March 16, 2012, |

Plaintiff returned to work after being out for four days because of mandatory jury duty.
Immediately upon his return, he received a 90 minute teaching observation from sck.ocol

administration, and subsequently his first ever Unsatisfactory-rated observation report.

25. On or about April 18, 2012, Plaintiff made allegations of Corporal

Punishment against Assistant Principal Denise Diacomanolis and False Accusation

allegations against SLT Chairperson, Susanne Abramowitz, and UFT Chapter Leader |

Richard Candia, to the Special Commissioner of Investigation and Office of Special

Investigation.

26. In retaliation for Plaintiffs allegations to these agencies, on or about April |
26, 2012, Plaintiff received a letter from Principal Hill and Assistant Principal Aguirre _
instructing him not to report to class because he was under investigation. As of that date, :
Plaintiff has been reassigned from his teaching duties to a reassignment center, despite no .

disciplinary charges being filed against him. He has not been allowed to return to retrieve .

his personal possessions from his classroom, and as of May 2012, his NYCDOE email and

payroll/benefits accounts have been suspended so that he cannot receive official NYCDOE™ ’

correspondence. In addition, his personal email account has been blocked from sending to |

any NYCDOE email account.

27. Despite Plaintiff being impugned repeatedly by school administration and |

even being removed from duties at the school and transferred to another borough over 50

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days ago, Plaintiff recently was elected the United Federation of Teachers’ school chapter
leader by the teachers of I.S. 49 beginning in the 2012-13 school year for a three year tern.
28, To date, Plaintiff has lost, inter alia, per session work and tutoring

opportunities, personal property and possessions, and promotional advancement

opportunities.

FIRST CLAIM FOR RELIEF .
RETALIATION AGAINST PLAINTIFF FOR EXERCISING FREEDOM OF
SPEECH IN VIOLATION OF PLAINTIFF’S FIRST AMENDMENT RIGHTS

29, Plaintiff repeats and realleges the allegations set forth in the preceding
paragraphs, as if fully set forth herein.

30. While acting under color of State Law, Defendants violated Plaintiff's First
Amendment rights by retaliating against him for exercising his freedom of speech zs a
citizen with regard to raising questions about city and state law violations by school
administration, in the form, infer alia, of school administration placing unwarranted |
disciplinary letters in his personnel file, issuing Plaintiff unwarranted unsatisfactory
observations, suspending Plaintiff's personal email account and website, terminating his per
session and tutoring work opportunities, transferring him to a teacher reassignment center
more than an hour commute from his house, seizing his property, and threatening his job -
security.

31. As a proximate result of Defendants’ retaliatory actions against Plaintiff,

Plaintiff has suffered and continues to suffer a loss of past and future income, monetary

damages, humiliation, severe emotional distress, mental and physical anguish and suffering,
 

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physical consequences of the severe emotional distress, and damage to his professional

reputation, in an amount to be determined at trial.

SECOND CLAIM FOR RELIEF
RETALIATION IN VIOLATION OF
NEW YORK STATE CIVIL SERVICE LAW § 75-B

32. Plaintiff repeats and re-alleges the allegations set forth in the preceding
paragraphs, as if fully set forth herein.

33. Plaintiff raised questions about city and state law violations by the school
administration, and thereby engaged in a protected activity as defined in New York Civil
Service Law § 75-b(2)(a).

34. Defendants had notice that Plaintiff participated in such protected activities.

35. Defendants retaliated against Plaintiff by engaging in adverse “personnel |
actions” as defined by New York Civil Service Law § 75-b(1)(d). Specifically, Defendants
subjected Plaintiff to a retaliatory hostile work environment, including but not limited to: |
placing unwarranted disciplinary letters in his file, suspending Plaintiff's personal email
account and website, depriving him of per session and tutoring opportunities, reassigning
from his teaching duties, and otherwise threatening his livelihood and job security.

36. As a proximate result of Defendants’ retaliatory actions against Plaintiff,
Plaintiff has suffered and continues to suffer a loss of past and future income, monetary |
damages, humiliation, severe emotional distress, mental and physical anguish and suffering,
physical consequences of the severe emotional distress, and damage to his professional —

reputation, in an amount to be determined at trial.
 

JURY DEMAND
37. Plaintiff hereby demands a trial by Jury.
PRAYER/DEMAND FOR RELIEF
WHEREFORE, Plaintiff demands judgment in its favor against Defendants as

follows:

a) On Plaintiffs First Claim for Relief—Retaliation against Plaintiff ‘for
exercising freedom of speech in violation of Plaintiffs First Amendment rights, damages in
an amount to be determined at trial;

b) On Plaintiff's Second Claim for Relief—Retaliation in violation of NY Civil
Service Law § 75-B, damages in an amount to be determined at trial;

c) On all Claims for Relief:

a. Judgment declaring that Defendants acts violated Plaintiff's rights as
secured by federal state and city law prohibiting retaliation in
employment;

b. Enjoining defendants from any further acts adversely affecting she
terms and conditions of Plaintiffs employment including his
compensation and privileges;

C. Compensatory damages to compensate Plaintiff for breach of
contract, economic loss, damage to name, profession, career and
reputation, pain and suffering, emotional distress and mental anguish,
embarrassment, indignity, and dislocation, in an amount to be

determined at trial;
 

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OO d, Punitive damages against one or all of the Defendants;
é. Statutory attorneys’ fees, interest, costs, and disbursements, and
f. For such other and further legal, equitable or other relief as the Court
deems just and proper.

DATED: New York, New York

June 21, 2012
GLASS KRAKOWER LLP

100 Church Street, 8" Floor
New York, NY 10007
(212) 537-6859

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Bryart Glass, Esq.
